                        Case 6:23-cv-00724-JKP Document 13 Filed 10/30/23 Page 1 of 1
AQ 120 (Rev. 08/10)
                             Mail Stop 8                                                       REPORT ONTHE
TO:
          Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                   TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                 Western District of Texas (Waco)                             on the following
       □ Trademarks or        7 Patents. ( • the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                       U.S. DISTRICT COURT
     6:23-cv-00724                       10/19/2023                       ________ Western District of Texas (Waco)
PLAINTIFF                                                                  DEFENDANT
 Unwired Global Systems LLC                                                   Kalki Communication Technologies Private Limited



        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                                 In the above   intitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   □ Amendment                 □ Answer           □ Cross Bill             □ Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    10/30/2023 document 12 STIPULATION of Dismissal




                                                                                                                            DATE
                                                                                                                                   10/30/2023

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
